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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Property Casualty Insurers Association of
America
                                                Plaintiff,
v.                                                           Case No.: 1:13−cv−08564
                                                             Honorable Rebecca R.
                                                             Pallmeyer
Shaun Donovan, et al.
                                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 16, 2021:


        MINUTE entry before the Honorable Rebecca R. Pallmeyer: At the parties' joint
request, the stay of this case remains in effect until April 15, 2021. On that date, the
parties will file a joint status report on the expected timing of further action by HUD and
proposed next steps. Notices mailed by judge's staff (ntf, )




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